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L:   LOCKS LAW FIRM
     The Curtis Center
     601 Walnut Street, Suite 720 East                                       Michael B. Leh
     170 S. Independence Mall West                                           Managing Partner
     Philadelphia, Pennsylvania 19106
     T 215.893.0100
                                                                             mleh0>,lockslaw.com
     T 866.LOCKSLAW
     F 215.893.3444
     lockslaw.com                                                            Direct Dial: 215-893-3410

                                                   July 25, 2018
     Hon. David R. Strawbridge
     United States Magistrate Judge
     James A. Byrne U.S. Courthouse
     601 Market Street, Room 3030
     Philadelphia, PA 19106

               Re:       In Re: National Football League Players' Concussion Injury Litigation
                         USDC, EDPA, No. 2:12-md-02323-AB

                         Locks Law Firm vs. Fuller Attorney's Lien Dispute
                         Document No. 8256

     Dear Judge Strawbridge:

             Please excuse this informal letter as an initial response to the Order to Show Cause Your
     Honor issued in this matter on July 23, 2018. Mr. Wyatt and Mr. Fuller prefer that I initially
     send a letter rather than responding on record to your Order to Show Cause. Mr. Wyatt and I are
     available to discuss this matter by conference call with you and would be happy to do so. If you
     prefer a formal filing in response to your Order to Show Cause, I would be happy to do that as
     well.

              I have discussed this with J.R. Wyatt, Esquire, who currently represents Mr. Fuller in this
     matter. Both Mr. Wyatt and his client are in agreement that Locks Law Firm is entitled to be
     reimbursed for $16,000 in expenses in this case. A letter and list detailing expenses in excess of
     s; 16,000 was submitted to the Claims Administrator by me on June 29, 2018. I apologize on
     behalf of myself and the entire Locks Law Firm for our failure to provide the expenses as
     required in Rule ( a)(5) or at any time prior to June 29th. Since the full $16,000 in expenses
     being sought by Locks Law Firm was withheld from the money forwarded to the client in this
     case and neither Mr. Wyatt nor the client object to Locks Law Firm being reimbursed these
     expenses, I respectfully request that the expenses be reimbursed to our Firm despite your Order
     to Show Cause why they should not be disallowed.

              I will await your response

                                                             Respectfully Submitted,


                                                      By:
                                                             Michael B. Leh, Esquire
     \IBL/ah
     cc: J.R. Wyatt, Esquire
      :_   ·~>'.PHIA,PA                          (YERRY HILL, NJ     ROSELAND, NJ       ATLANTIC (ITY. NJ
